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B7 (Official Form 7) (12/07)


                                                  UNITED STATES BANKRUPTCY COURT
                                                      Western District of Michigan

In re:   JONATHAN W. GINKA                                                                    Case No.
                                                                          ,
                                                      Debtor                                                     (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                            SOURCE                                        FISCAL YEAR PERIOD

          26,303.00                        earned income 2007

          56,087.00                        earned income 2008

          48,665.00                        earned income 2009

          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
          business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD

          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
          services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
          the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
          under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
          unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF                                  DATES OF                             AMOUNT                AMOUNT
          CREDITOR                                             PAYMENTS                             PAID                  STILL OWING
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None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF CREDITOR                     DATES OF                               AMOUNT                 AMOUNT
                                                         PAYMENTS/                              PAID OR                STILL
                                                         TRANSFERS                              VALUE OF               OWING
                                                                                                TRANSFERS




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
       benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
       by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       NAME AND ADDRESS OF CREDITOR                     DATE OF                                 AMOUNT                 AMOUNT
       AND RELATIONSHIP TO DEBTOR                       PAYMENT                                 PAID                   STILL OWING
       Michalski, Barbara                               9/29/09                                100.00                 300.00
       Re: personal loan
       10409 Vista Del Sol
       Albuquerque, NM 48114
          mother in law


       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
       the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       CAPTION OF SUIT                                                         COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                     NATURE OF PROCEEDING                AND LOCATIO                           DISPOSITION




None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                    DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                            SEIZURE                     PROPERTY

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY
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       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS
       Lost $700.00 gambling at Little River
       Casino during excursion 3/17/09

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY
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       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                      AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                     AND VALUE OF PROPERTY OR DEBTOR
                                                                                           INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                      IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF
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       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                             DATES OF OCCUPANCY

       numerous                                                        same
       N. Muskegon, Kalamazoo,
       Michigan areas

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME


       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW
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None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION


       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS
       NAME                                                                             NATURE OF             BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS



                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 10/27/2009                                         Signature     /S/ JONATHAN W. GINKA
                                                           of Debtor     JONATHAN W. GINKA
